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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                    Holding a Crilninal Term
                               Grand Jury Sworn in on July 9,2018

UNITED STATES OF APIERICA                    :      CRIⅣIINAL NO.

              V.                                    VIOLAT10NS:

JACKSON ALEXANDER COSKO,                            18 UoS.C.§ 119
                                                    (Restricted Personal lnformation)
                               Defendant.
                                                    18 UoS.C。 §1028(a)(7)
                                                    (Identity Theft)

                                                    18 UoS.C。 §1030(a)(3)
                                                    (COmputer Fraud)

                                                    18 UoSoC。 §875(d)
                                                   (Interstate Threats)

                                                    18 UoS.C.§ 1512(b)(3)
                                                   (Witness Tampering)

                                                   DoCo Code§ 22… 801(b)
                                                   (SeCOnd Degree Burglary)

                                                   DoCo Code§ 22‑3302(b)
                                                   (UnlaWful Entry)


                                         INDICTMENT

The Grand Jury charges that:

                                          COUNT ONE
                                (Restricted Personal Information)

       On or about September 27, 2018, in the District of Columbia, the defendant, JACKSON

ALEXANDER COSKO, knowingly made restricted personal information about United            States

Senator Mike Lee publicly available, with the intent    to intimidate, and with the intent and
knowledge that the restricted personal information would be used to intimidate. United
                                                                                       States
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Senator Mike Lee, by making public on a website restricted personal information including his

home address.

      (Restricted Personal Information, in violation of Title 18, U.S. Code, Section 119))

                                            COUNT TWO
                                            (Identity Theft)

       On or about October 2, 2018, in the District of Columbia, the defendant, JACKSON

ALEXANDER COSKO, did knowingly possess and use, and attempt to possess and use, in                       a

manner affecting interstate commerce, without lawful authority,   a   means of identification of another

person, that is, login credentials for individual access to computers and computer networks provided

by the United States Senate, knowing that said login credentials belonged to another actual person,

with the intent to commit, and in connection with, unlawful activity that constitutes a violation of

Federal law, including Computer Fraud in violation of 18 U.S.C. $ 1030(aX3).

 (Identity Theft, in violation of Title   18, United States Code, Sections 1028(a)(7) and   (b)(2)(B))

                                           COUNT THREE
                                          (Computer Fraud)

       On or about October 2, 2018, in the District of Columbia, the defendant, JACKSON

ALEXANDER COSKO, without authorization to access any nonpublic computer of the United

States Senate, accessed such a computer of the United States Senate that was exclusively for the

use of the United States Government, and that was used by and for the United States Govemment,

the defendant's conduct having affected that use by and for the United States Government.

    (Computer Fraud, in violation of Title 18, United States Code, 1030(a)(3) and (c)(2)(A))




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                                          COUNT FOUR
                                       (Interstate Threats)

       On or about October 2, 2018, in the District of Columbia and elsewhere, the defendant,

JACKSON ALEXANDER COSKO, knowingly transmitted in interstate and foreign commerce to

the District of Columbia through a place outside of the District of Columbia, with intent to extort

from Witness 2, a person whose true identity is known to the grand jury, a thing of value, that is,

the act of withholding truthful testimony, a communication containing a threat to injure the property

and reputation of a United States Senator and the children of a United States Senator.

        (Interstate Threats, in violation of Title 18, United States Code, Section 875(d))

                                          COUNT FIVE
                                      (Witness Tampering)

       On or about October 2, 2078, in the District of Columbia and elsewhere, the defendant,

JACKSON ALEXANDER COSKO, did knowingly attempt to intimidate and threaten Witness 2,

a person whose true identity is known to the grand j.rry, by threatening to make public restricted

personal information, and to injure the reputation, of a United States Senator and the children of a

United States Senator, with the intent to hinder, delay, and prevent the communication to a law

enforcement officer   of information relating to the commission of a Federal       offense, namely

Computer Fraud in violation of l8 U.S.C. g 1030(a)(3).

     (Witness Tampering, in violation of Title 18, United States Code, Sections 1512(bX3)

                                           COUNT SIX
                                   (Second Degree Burglary)

       On or about October 2, 2018, in the District of Columbia, the defendant, JACKSON

ALEXANDER COSKO, entered the office of United         States Senator Maggie Hassan with the intent




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to commit criminal offenses therein, that is, the offenses of Identity Theft and Computer Fraud,   as


set forth   in Counts Two and Three of this Indictment.

               (Second Degree Burglary, in violation of 22D.C. Code, Section 801(b))

                                          COUNT SE\TEN
                                          (Unlawful Entry)

        On or about October 2, 2018, in the District of Columbia, the defendant, JACKSON

ALEXANDER COSKO, without lawful authority, did enter and attempt to enter certain public

property, that is, the office of United States Senator Maggie Hassan, who is the lawful occupant

thereof and the person lawfully in charge thereof.

       (Unlawful Entry (Public Property), in violation of 22D.C. Code, Section 3302(b))




                                                      A TRUE BILL




                                                      Foreperson




ATTORNEY OF THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUⅣ IBIA




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